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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

United States of America CASE NUMBER
PLAINTIFE(S) 2:22-cr-00482 PA
V.
Jerry Nehl Boylan ORDER RE TRANSFER PURSUANT TO
GENERAL ORDER 21-01 (Related Criminal Cases)
DEFENDANT(S).
CONSENT

I hereby consent to the transfer of the above-entitled case to my calendar, pursuant to General Order 21-01.

October 20, 2022 George H. Wi my t K, 4i~—

Date United States District Judge

DECLINATION

I hereby decline to transfer the above-entitled case to my calendar for the reasons set forth below:

Date United States District Judge

REASON FOR TRANSFER AS INDICATED BY COUNSEL

Case 2:20-cr-00600 GW and the present case:

A. Arise out of the same conspiracy, common scheme, transaction, series of transactions or events; or

B. Involve one or more defendants in common, and would entail substantial duplication of labor in pretrial,

trial or sentencing proceedings if heard by different judges.

Notice to Counsel from Clerk

On all documents subsequently filed in this case, please substitute the initials GW after the case

number in place of the initials of the prior judge, so that the case number will read 2:22-cr-00482 GW

This is very important because documents are routed to the assigned judge by means of these initials.

ce: [_] PSALA [_] PSAED [_] USMLA [_] USMSA [_] USMED _ [_]| Previous Judge [_] Statistics Clerk

CR-59 (03/21) ORDER RE TRANSFER PURSUANT TO GENERAL ORDER 21-01 (Related Criminal Cases)
